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                            UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF NEW JERSEY


  IN RE JOHNSON & JOHNSON “BABY
  POWDER” and “SHOWER TO SHOWER”
  MARKETING, SALES PRACTICES AND
  PRODUCTS LIABILITY LITIGATION
                                                                  MDL NO. 2738 (FLW) (LHG)
  THIS DOCUMENT RELATES TO:

  Lisa Mascitelli vs. Johnson & Johnson, et al.
   Case No.: 3:18-cv-2151




                                         NOTICE OF FILING

         Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

  Lisa Mascitelli.

         This 12th day of April, 2018.

                                                        Respectfully submitted,

                                                        ONDERLAW, LLC

                                                  By:   /s/ W.Wylie Blair
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                                       Certificate of Service

         The undersigned hereby certifies that this document was filed and electronically served by
  way of the Court’s electronic filing system this 12th day of April, 2018.


                                                      /s/ W. Wylie Blair
